                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA

Brock Fredin,

      Plaintiff,

      v.                                         Case No. 0:20-cv-01929-SRN-HB

Jamie Kreil,

      Defendant.


         DECLARATION OF ANNE M. LOCKNER IN SUPPORT OF
       JAMIE KREIL’S MOTION FOR TERMINATING SANCTIONS, A
       TEMPORARY RESTRAINING ORDER, AND ATTORNEYS’ FEES

       Pursuant to 28 U.S.C. § 1746, I, Anne M. Lockner, declare:

       1.      I am a partner at Robins Kaplan LLP, counsel for Defendant Jamie

Kreil in the above-captioned action. I submit this declaration in support of Jamie

Kreil’s Emergency Motion for Terminating Sanctions, a Temporary Restraining

Order, and Attorneys’ Fees.

       2.      I, along with my colleagues Ena Kovacevic and Haynes Hansen,

represent Jamie Kreil in this matter on a pro bono basis.

       3.      Four days after the filing of Jamie Kreil’s Motion to Dismiss and to

Declare Brock Fredin a Vexatious Litigant, on October 19, 2020, we became aware

of a series of websites and YouTube videos making a variety of false, defamatory,




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and harassing claims about me, Ms. Kovacevic, and Mr. Hansen in connection

with this litigation.

      4.     The websites are hosted at domain names matching my name and

the names of Ms. Kovacevic and Mr. Hansen. They are written in Fredin’s voice,

and I understand that Fredin has created many similar websites targeting other

attorneys and court personnel. See Mot. for TRO at 2-4, Fredin v. Middlecamp, Case

No. 0:17-cv-03058-SRN-HB (D. Minn. Oct. 12, 2020). The websites further repeat

many of Fredin’s false allegations in this litigation. Based on the foregoing, the

websites appear certain to have been created by Fredin.

      5.     The videos are hosted on a YouTube channel I understand Fredin

has acknowledged as his: “Judicial Protest.” See id. at 4; Decl. of J. Breyer Ex. 17,

Fredin v. Middlecamp, Case No. 0:17-cv-03058-SRN-HB (D. Minn. Oct. 12, 2020).

Each video concludes by directing the viewer to the above websites, and includes

content similar or identical to those websites. The other videos on the “Judicial

Protest” YouTube channel pertain to opposing counsel in Fredin’s other cases

and judges who have issued unfavorable rulings against Fredin. Given the

foregoing, the videos appear certain to have been created by Fredin.

      6.     The addresses for the websites and videos are as follows:

                        a. http://annelockner.com/

                        b. www.annelockner.attorneypetermayer.com


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                      c. http://enakovacevic.com/

                      d. www.enakovacevic.attorneypetermayer.com

                      e. http://hayneshansen.net

                      f. www.hayneshansen.net.attorneypetermayer.com

                      g. https://youtu.be/tdyWcPA5k0I

                      h. https://youtu.be/lUGyNosr974

                      i. https://youtu.be/LNOTm082pS8

      7.    I am attaching pdf versions of the above websites to this Declaration,

and will provide electronic archived copies of the videos as soon after as can be

arranged with the Court. I ask that the Court please utilize these copies rather

than drive up the search rankings of the foregoing websites through repeated

viewing.

      8.    I also understand that the following additional web sites have been

established recently, presumably in case the above domains are removed, Fredin

can easily move content to these other sites:

                      a. annemlockner.com

                      b. www.annelockner.attorneypetermayer.com

      9.    Attached hereto as Exhibit A is a true and correct pdf version of the

website currently hosted at “annelockner.com” and




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“www.annelockner.attorneypetermayer.com,” entitled “Anne M. Lockner—

Minnesota’s Most Abusive Attorney.”

      10.    Among the false, defamatory, and harassing statements set out in

the website are that I am “abusive,” I “force[ ] associates to put their pronouns on

the firm’s website”; that I am “racist” and “according to reports and [my] firm’s

website,” I “overwhelmingly prefer[ ] and only hire[ ] white attorneys”; that have

“made it known publicly that [I am] Minnesota’s most racist and hypocrite

attorney”; that I am unethically attempting to “curry[ ] favor with the U.S.

Attorneys [sic] Office,” that that I “conspire[] with and support[] radical left-

wing racist attorneys and prosecutors who abuse local citizens”; and that I am “a

danger to all Minnesota families.”

      11.    All of the foregoing allegations are absolutely false.

      12.    Attached as Exhibit B is a true and correct pdf version of the website

currently hosted at “enakovacevic.com” and

“www.enakovacevic.attorneypetermayer.com” entitled, “Eva Kovacevic—

Minnesota’s Most Crooked Attorney.”

      13.    Among the false, defamatory, and harassing statements set out in

the website are that Ms. Kovacevic is “crooked,” that she is unethically

attempting to “curry[ ] favor with the U.S. Attorneys [sic] Office,” and that she is

“a danger to all Minnesota families.”


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      14.    Ms. Kovacevic has practiced under my supervision at Robins Kaplan

for approximately two years. Based on my personal knowledge, the foregoing

statements are absolutely false.

      15.    Attached as Exhibit C is true and correct pdf version the website

currently hosted at “hayneshansen.net,” entitled, “Haynes Hansen—Minnesota’s

Most Crooked Attorney.”

      16.    Among the false, defamatory, and harassing statements set out in

the website are that Mr. Hansen is “crooked,” that he is unethically attempting to

“curry[ ] favor with the U.S. Attorneys [sic] Office,” that he “a danger to all

Minnesota families,” that he clerked for a “racist” judge who “regularly affirms

racist, unjust, and unlawful sentences to destroy families particularly black

families [sic],” that he chose to work at Robins Kaplan due to racism, and that he

is conspiring with the Court in “[a]n obvious quid-pro-quo and corrupt

enterprise to prejudice the federal court and cases before Judge Nelson.”

      17.    Mr. Hansen has practiced under my supervision at Robins Kaplan

for approximately two years. Based on my personal knowledge, the foregoing

statements are absolutely false.

      18.    Attached hereto as Exhibit D is a true and correct pdf image of the

video currently hosted at “https://youtu.be/tdyWcPA5k0I,” titled “Anne M.




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Lockner – Minneapolis’s Most Abusive Attorney,” of which we will shortly

submit an electronic archived version to the Court.

      19.    The video largely repeats the same or similar allegations as

“annelockner.com,” set to pictures of me, our client, and occasionally disturbing

and offensive stock footage. It further adds the allegation that I “fabricate[ ]

allegations in an effort to smear local citizens.”

      20.    These allegations are all absolutely false.

      21.    Attached hereto as Exhibit E is a true and correct pdf image of the

video currently hosted at “https://youtu.be/lUGyNosr974,” titled “Ena

Kovacevic - Minneapolis's Most Crooked Attorney,” of which we will shortly

submit an electronic archived version to the Court.

      22.    The video largely repeats the same or similar allegations as

“enakovacevic.com,” set to pictures of Ms. Kovacevic, our client, and

occasionally disturbing and offensive stock footage. It further adds the allegation

that Ms. Kovacevic “fabricates allegations in an effort to smear local citizens.”

      23.    Again, based on my personal knowledge, the foregoing statements

are absolutely false.

      24.    Attached hereto as Exhibit F is a true and correct pdf image of the

video currently hosted at “https://youtu.be/LNOTm082pS8,” titled “Haynes




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Hansen - Minneapolis's Most Crooked Attorney,” of which we will shortly

submit an electronic archived version to the Court.

      25.    The video largely repeats the same or similar allegations as

“hayneshansen.com,” set to pictures of Mr. Hansen, our client, and occasionally

disturbing and offensive stock footage. It further adds the allegation that Mr.

Hansen “fabricates allegations in an effort to smear local citizens.”

      26.    Again, based on my personal knowledge, the foregoing statements

are absolutely false.

      27.    The foregoing websites and videos appear in my Google search

results, as well as those of Ms. Kovacevic and Mr. Hansen.

      28.    The false and inflammatory allegations set out in these websites and

videos pose an evident risk of harm to my personal and professional reputation

and those of Ms. Kovacevic and Mr. Hansen.

      29.    My colleagues and I also understand that Fredin has a criminal

history involving harassment through similar means. Moreover, Fredin’s

behavior in creating these websites is unusual and erratic. Fredin’s actions have

put Ms. Kovacevic, and Mr. Hansen, and me in reasonable fear of our safety and

privacy, as well as the safety and privacy of our families, due to our

representation of our client in this matter.




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      30.    The “Judicial Protest” YouTube channel presently contains

numerous other videos. Several of these videos are directed at counsel for the

defendants in two other of Fredin’s lawsuits, Fredin v. Middlecamp, Case No. 17-

CV-3058, and Fredin v. Miller, Case No. 18-CV-466. One of these videos—a false

commercial that is wildly homophobic—has accumulated more than 7,000 views

as of the submission of this declaration.

      31.    Among the other videos hosted on the “Judicial Protest” channel are

two videos attacking Magistrate Judge Hildy Bowbeer for her rulings against

Fredin in the Middlecamp and Miller actions. In these videos, Fredin accuses Judge

Bowbeer of “protect[ing] corrupt law enforcement officers,” “conceal[ing]

misconduct and refus[ing] to protect men,” and alleges that Judge Bowbeer’s

rulings against him were based on improper animus. One of the videos features

vulgar imagery. These videos have collectively accumulated nearly 100 views as

of the submission of this declaration.

      I declare, under penalty of perjury, that the foregoing is true and correct.

Executed this 21st day of October, 2020, in Minneapolis, MN.

                          By: s/Anne M. Lockner




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